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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                GAINSVILLE DIVISION

                                                                CASE NO.:
RICHARD WRIGHT,

       Plaintiff,

v.

BLUESTEM BRANDS, INC.,
d/b/a Fingerhut,

      Defendant.
____________________________/

                                         COMPLAINT
                                        JURY DEMAND

      1.       Plaintiff, Richard Wright, alleges violations of the Telephone Consumer

Protection Act, 47 U.S.C §227, et seq. (“TCPA”) and the Florida Consumer Collection Practices

Act, §559 et seq. (“FCCPA”).

                                JURISDICTION AND VENUE

      2.       This Court has jurisdiction under 28 U.S.C. §1331. Supplemental jurisdiction

exists for the state law claim pursuant to 28 U.S.C. §1367.

      3.       Venue in this District is proper because Plaintiff resides here and Defendant

conducted collection activities and placed telephone calls into this District.

                                            PARTIES

      4.       Plaintiff, Richard Wright (hereinafter, “Plaintiff”), is a natural person, and citizen

of the State of Florida, residing in Alachua County, Florida.

      5.       Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(352) ***- 3681, and was the “called party” and recipient of Defendant’s hereinafter described




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calls. See Soppet v. Enhanced Recovery Co., LLC, 670 F.3d 637, 643 (7th Cir. 2012), reh’g

denied (May 25, 2012); see also Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir.

2014).

     6.       Plaintiff is a “consumer” as defined by Florida Statute §559.55(8).

     7.       The debt that is the subject matter of this complaint is a “consumer debt” as

defined by Florida Statute §559.55(6).

     8.       Defendant, Bluestem Brands, Inc., d/b/a Fingerhut (hereinafter “Defendant”), is a

Delaware corporation whose principle place of business is located at 7075 Flying Cloud Drive,

Eden Prairie, MN 55344.

     9.       Defendant’s registered agent for service of process is the Corporation Trust

Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801.

     10.      Defendant is a “creditor” and/or “person” as defined by Florida Statute §559.55.

                 FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF

     11.      Defendant attempts to collect debts from consumers that have defaulted on

Fingerhut accounts. Defendant also uses what it refers to as “third party vendors” to attempt to

collect debts from consumers that have defaulted on Fingerhut accounts.

     12.      Defendant’s “third party vendors” are agents of Defendant.

     13.      Defendant and/ or its agents attempted to collect an alleged debt arising from

transactions primarily incurred for personal, family or household purposes from Plaintiff.

Specifically, Defendant and/ or its agents attempted to collect an alleged debt from Plaintiff

concerning a Fingerhut account that did not belong to him.

     14.      As described herein, Defendant and/ or its agents intentionally harassed and

abused Plaintiff on numerous occasions by calling Plaintiff’s cellular telephone several times




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per day and on back-to-back days, with such frequency as can reasonably be expected to harass,

in an effort to collect an alleged debt.

      15.       At all times relevant to this action, Plaintiff received between two to five calls

per day to his cellular telephone from Defendant and/or its agents in an effort to collect the

alleged debt at issue.

      16.       Upon answering many of these calls, Plaintiff was greeted either by an

automated machine-operated voice message or a noticeable period of “dead air” while the

caller’s telephone system attempted to connect to a live telephone employee.

      17.       Defendant’s and/ or its agent’s method of contacting Plaintiff is indicative of its

ability to dial numbers without any human intervention, which the FCC has opined is the

hallmark of an automatic telephone dialing system. See In the Matter of Rules & Regulations

Implementing the Telephone Consumer Protection Act of 2008, 23 F.C.C.R. 559, 565-66

(2008); see also In the Matter of Rules & Regulations Implementing the Telephone Consumer

Protection Act of 1991, 18 F.C.C.R. 14014, 14091-92 (2003).

      18.       In or about 2015 and several times thereafter, Plaintiff informed Defendant

and/or its agents that they were calling for the wrong person and demanded that Defendant

cease placing calls to his aforementioned cellular telephone number.

      19.       During    the    aforementioned       conversations   with   Defendant,   Plaintiff

unequivocally revoked any express consent Defendant may have had for placement of telephone

calls to Plaintiff’s cellular telephone number by the use of an automatic telephone dialing

system or a pre-recorded or artificial voice.

      20.       Each and every call the Defendant made to the Plaintiff’s cellular telephone

number was done so without the “express consent” of the Plaintiff.




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      21.      Each and every subsequent call the Defendant made to the Plaintiff’s cellular

telephone number was knowing and willful.

      22.      Despite actual knowledge of their wrongdoing, Defendant continued the

campaign of abuse, calling the Plaintiff despite Plaintiff having revoked any express consent

Defendant may have had to call his cellular telephone number.

      23.      Plaintiff’s damages were caused by and directly related to Defendant’s attempts

to collect a debt by using an automatic telephone dialing system or predictive dialer to call

Plaintiff’s cellular telephone number.

      24.      From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone number, Plaintiff suffered the injury of invasion of privacy and the

intrusion upon his right of seclusion.

      25.      From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone number, Plaintiff suffered the injury of the occupation of his

cellular telephone line and cellular telephone by unwelcome calls, making the telephone

unavailable for legitimate callers or outgoing calls while the cellular telephone was ringing from

Defendant’s call.

      26.      From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone number, Plaintiff suffered the injury of unnecessary expenditure of

his time. Plaintiff had to waste his time dealing with missed call notifications and call logs that

reflect the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s

cellular telephone, which are designed to inform the user of important missed communications.

      27.      Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone number was an injury in the form of a nuisance and annoyance to the




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Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. For unanswered calls, Plaintiff had to deal with missed call notifications and

call logs that reflected the unwanted calls.

      28.      Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone number resulted in the injury of unnecessary expenditure of Plaintiff’s

cellular telephone’s battery power.

      29.      Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone number resulted in the injury of a trespass to Plaintiff’s chattel, namely his

cellular telephone and his cellular telephone services.

      30.      As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress, anxiety, nervousness,

embarrassment, distress and aggravation.

      31.      Defendant’s corporate policy is structured so as to continue to call individuals

like Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

      32.      Defendant’s corporate policy provided no means for Plaintiff to have Plaintiff’s

cellular telephone number removed from Defendant’s call list.

      33.      Defendant has numerous complaints against it across the country asserting that

its automatic telephone dialing system continues to call despite being requested to stop.

      34.      None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(a).

      35.      Defendant willfully or knowingly violated the TCPA.

                             COUNT I
  VIOLATIONS OF THE FLORIDA CONSUMER COLLECTION PRACTICES ACT

      36.      Plaintiff incorporates Paragraphs 1 through 35 herein.


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      37.      At all times relevant to this action, Defendant and its agents are subject to and

must abide by the law of Florida, including §559.72, Florida Statutes.

      38.      Defendant and/ or its agents engaged in an act or omission prohibited under

§559.72(7), Florida Statutes, by willfully engaging in conduct, which can reasonably be

expected to harass or abuse the Plaintiff.

      39.      Specifically, Defendant and/ or its agents called Plaintiff several times a day and

on back-to-back days in an effort to collect an alleged consumer debt.

      40.      Defendant and/ or its agents engaged in an act or omission prohibited under

§559.72(9), Florida Statutes, by claiming, attempting, or threatening to enforce a debt when

such person knows that the debt is not legitimate.

      41.      Specifically, Defendant claimed and attempted to enforce the alleged subject

consumer debt when it knew the debt was not owed by Plaintiff.

       WHEREFORE, Plaintiff requests that the Court enter a judgment in favor of Plaintiff

and against Defendant for:

                     a) Statutory Damages for each violation;

                     b) Actual Damages for each violation;

                     c) Punitive Damages;

                     d) Attorney’s fees, litigation expenses and costs of suit; and

                     e) Such other or further relief as the Court deems proper.

                               COUNT II
        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

      42.      Plaintiff incorporates Paragraphs 1 through 35 herein.

      43.      Defendant and/ or its agents repeatedly placed non-emergency telephone calls to

Plaintiff’s cellular telephone using an automatic telephone dialing system or pre-recorded or


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artificial voice without Plaintiff’s prior express consent in violation of federal law, including 47

U.S.C § 227(b)(1)(A)(iii).

      44.      Defendant and/ or its agents willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff

notified Defendant that the subject debt was not his and that he did not wish to receive any

telephone communication from Defendant.

      45.      Defendant and/ or its agents violated the TCPA with respect to telephone calls

made to Plaintiff’s cellular telephone with an automatic dialing system without consent.

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

against Defendant for:

                     a) $500.00 dollars in statutory damages for each violation of the TCPA

                         over the last four years;

                     b) $1,500.00 dollars in statutory damages for each knowing or willful

                         violation of the TCPA over the last four years;

                     c) a declaration that Defendant’s calls violate the TCPA;

                     d) a permanent injunction prohibiting Defendant from placing non-

                         emergency calls to the cellular telephone of Plaintiff using an

                         automatic telephone dialing system or pre- recorded or artificial voice;

                     e) litigation expenses and costs of the instant lawsuit; and

                     f) such further relief as this Court may deem appropriate.

                                           JURY DEMAND
        Plaintiff demands trial by jury.

                                                      Respectfully submitted,

                                                      By:/s/ Christopher Legg


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